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                            UNITED STATES DISTRICT COURT FOR
                               THE NORTHERN DISTRICT OF
                                      CALIFORNIA


 Douglas Rosenberg
                               Plaintiff,
                                                      . NO 4:23-cv-00820-DMR
                       v.
                                                      Note of Motion
 Reddit Corporation                                   Leave Motion to Amend Complaint
 Elon Musk                                            pursuant to Rule 15
 Tesla Inc.
 Defandants
                               .



Pursuant to Rule `15 and any other pertinent rules, Plaintiff respectfully requests the leave of

the Court to amend his complaint attached as Second Amended Complaint.

Complaint has not been served on Defendants




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Respectfully Submitted

Date: 11/14/23



Pro Se




Douglas Rosenberg




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                    UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF

                         NORTHERN CALIFONIA




Douglas Rosenberg
PLAINTIFF
                                                     NO 4:23-cv-00820-DMR


                                                    Second Amended Complaint
Reddit Corporation
Elon Musk                                           JURY TRIAL DEMANDED
Tesla Inc.

DEFENDANTS
                                     .




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  Plaintiff Douglas Rosenberg files this Complaint against Defendants Reddit, Elon Musk and

  Tesla Inc.

  Defendant Reddit

  303 2ND STREET SUITE 500 SAN FRANCISCO, CA 94107

  Defendant Tesla Inc.

  1 Tesla Road
  Austin, TX 78725

  Defendant Elon Musk

  1 Tesla Road
  Austin, TX 78725




Jurisdiction:

Jurisdiction is proper in that this case exceeds $250,000 and there is complete diversity of

Plaintiff and Defendant.

Additionally, the preponderance of this complaint is the subject of Federal Law

Personal Jurisdiction

The Court has personal Jurisdiction is proper as to all Defendants:




Defendant Reddit is a Corporation headquartered at:

303 2ND STREET SUITE 500 SAN FRANCISCO, CA 94107
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Defendant Tesla Inc is a Corporation that was headquartered up until December of 2021 in

California. The events in this Complaint took place during the time Tesla was headquartered in

California.

Defendant Elon Musk was at the time of all the events an employee Tesla Inc. which was

Headquartered in California until December 2021.

Defendant Elon Musk owned Homes in California up until December 2021


                 FACTS:

       1. At all times Plaintiff was a resident of the United States

       2. laintiff held positions in naked GME options on January 26th and short positions in

              GME stock on February 24th.

       3. Plaintiff was sold out for margin reasons and resulted in a loss in excess of 1.2

              Million dollars. Defendants were directly involved in manipulating the market for

              GME an profiting from the manipulation.




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COUNT 1 against Elon Musk and Tesla- Violation of 15 U.S.C. §78i(a)(1)

COUNT 2 against Elon Musk and Tesla- - U.S.C. §78i(a)(2)

COUNT 3 against Elon Musk and Tesla- - VIOLATION OF 15 U.S.C. §78i(a)(3)

COUNT 4 against Elon Musk and Tesla- OF 15 U.S.C. §78i(a)(43)

COUNT 5 -Violation of 15 U.S.C. § 1-1


COUNT 6 - Violation of RCW 19.86


COUNT 7 - Violations of Business and Professions Code § 17200


COUNT 8- Common law Aiding and Abetting


COUNT 9- Violations of RCW 21.20.010


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 4.




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      a. 5.




           7. Elon Musk has been sued several times in Class Action suits and the SEC for

           Stock Manipulation


       8. Elon has approximately 120 Million followers in January 2021


       9. On January 26, 2021 Mr. Musk tweeted the following: See Exhibit 5 and Exhibit 7




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      b.




      c.

      d. 10.The historical accepted definition is too perform an concentrated attack on a

           target


    11.




      e.
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               12. Stonk is also very close to the English word “Stomp” which has a similar

               meating but has wider meaing outside of the military




 13. Elon’s Musk’s occurred during business hours (9-5PM)during which Elon Musk is an

 Employee of Tesla Inc.


 14Not only is Mr. Musk the employee but was the CEO of Tesla Inc. at the time of the Tweet


 15 Mr. Musk notoriously tweeted out constantly during his tenure with Tesla during business

 hours and was never admonished a single time by the Company or its Board.


 16. Count Aiding and Abetting against Defendant Tesla Inc




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   17 . As result of Elons Open Market manipulation, GameStop surge 600% in the aftermarket


   1846. Elon’s action constitute violations of the 10-b, 17-A and 9-A of the Exchange Act


COUNT 10 against Reddit - Violation of 15 U.S.C. §78i(a)(1)

COUNT 11 against Reddit - - U.S.C. §78i(a)(2)

COUNT 12 against Reddit - - VIOLATION OF 15 U.S.C. §78i(a)(3)

COUNT 13 against Reddit - OF 15 U.S.C. §78i(a)(43)

COUNT 14 against Reddit -Violation of 15 U.S.C. § 1-1


COUNT 15 against Reddit - Violation of RCW 19.86


COUNT 16 against Reddit - Violations of Business and Professions Code § 17200


COUNT 17 against Reddit - Common law Aiding and Abetting


COUNT 18 against Reddit - Violations of RCW 21.20.010




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19.On February 7, 2021, Defendant Reddit aired a commercial during the Super Bowl, in

which they referenced the "huge rally around GameStop stock" initiated by members of their

WallStreetBets subreddit and how happy they were about the good things that it had

accomplished


20. The number of viewers of Super Bowl from 2021 was 96.4 million


21 Defendant's WallStreetBets subreddit has over 13.5 million subscribers, and many

members purchased options or stock in GME stock in the real world.


22. Many of these Members subsequently bought Securities and Options with the intent of

creating a Short squeeze in the GME stock price


23 The Clayton Act authorizes treble damages and attorney fees.


24 Reddit's actions in combining to increase prices on GME was an unfair business practice.


25Reedit employs unpaid contractors called moderators or Redditors to create discussion

forums and content.


26. Some the Reddit’s unpaid contractors created content




  27Defendant's actions constitute unfair business practices in violation of California Business

  and Professions Code § 17200.




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      28. Defendants actions by advertising sought to draw in more co-conspirators into the

      GME Short squeeze conspiracy


       29. To prove an Section 1 of the Sherman Act (15 U.S.C. § 1) Plaintiff must prove three

       essential elements:


       30.1. Elements of the Offense | JM | Department of Justice


        31. Reddit gave Testimony to Congress (See Exhibit 8) that they were very proud of

        what Reddit was doing


         32.Defendant attracted more participant to the conspiracy by advertising at the

         SuperBowl (see Exhibit 1)




         Clearly there was a conspiracy among Reddit participants to drive up the price


       (See Exhibit 4).


          33. Co -Conspirators used Code words such as Diamond hands and HODl (Hold on for

          Dear Life)


    34. . In a Sherman Act criminal case, general intent must be proven. Customarily,
however, proof of the existence of a price fixing, or bid rigging or market allocation 24.
35. . An agreement is sufficient to establish intent to do what the defendants agreed
among themselves to do.
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The agreement need not be embodied in express or formal contractual statements. It
must merely constitute some form of mutual understanding that the parties will
combine their efforts for a common, unlawful purpose. The ultimate success of the
venture is immaterial as long as the agreement is in fact formed.

(see https://shorturl.at/ikDEF)


            36. Reddit the Corporation knowingly joined the conspiracy by Advertising during

            the SuperBowl. (see Exhibit 1)


37; Reddit’s Super Bowl commercial Ad was a violation of Section 10-b of the Securties Act of

1933, hearafter referred as the Exchange Act


38.Reddit’s Super Bowl commercial Ad was a violation of 17(a) Section of the Exchange Act

(see Exhibit 1)


39. Reddit’s Super Bowl commercial Ad was a violation Section 9(a) of the Exchange Act


40. The GME conspiracy succeeded because there were Millions of co-conspirators working

together to drive up the price. Having Millions of small conspirators does not make it any less of

a conspiracy.


41 This is Open Market manipulation


42. Quoting from Exhibit 6- “Minnesota Law Review “… the GameStop saga
demonstrates that open-market manipulation is bad for the economy
and


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should not be tolerated. Luckily, the courts can easily rectify this
problem by adopting the D.C. Circuit’s interpretation of 10b-5[67]—or
any of a number of”
43. scholars well-reasoned standards[68]—to hold that open-market manipulation is still violative market

manipulation.


44. These conspirators purchased         GME stock options


45. Reddit’s speech over the TV airwaves is not protected by Title 47 Section 230


    46. The testimony by Reddit CEO to Congress is not protected by Title 47 Section 230


47. Steven Hoffman said during Testimony:” A few weeks ago, we saw the power of community

in general and of this community in particular when the traders of WallStreetBets banded

together at first to seize an investment opportunity not usually accessible to retail investors, but

later more broadly to defend all retail investors against the criticism of the financial

establishment”


48. There is no doubt that Reedit was aware of the conspiracy and that they were proud of it.


49. The CEO testified to Congress of this (Exhibit 6)


50. This Short squeeze could only be accomplished by drawing additional members to the

conspiracy to increase the price of GME stock


51. By spending their entire advertising budget and calling the GME stock rise a Good thing,

Reddit sought to attract these additional co-conspirators


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   52. Reddit said it spent its “entire marketing budget on five seconds of airtime,”

   which could be upwards of $1 million considering that a 30-second

   spot reportedly costs $5.5 million this year (Reddit is valued at nearly $3

   billion, according to TechCrunch). “I am really proud of what we were able to

   achieve with just five seconds and think it beautifully captures the heart of

   Reddit in our unique and brilliantly absurd tone,” Reddit’s chief marketing

   officer Roxy Young told CNN.


53. According to the attached SEC document Exhibit 3:


       “Although some short squeezes may occur naturally in the market, a

       scheme to manipulate the price or availability of stock in order to

       cause a short squeeze is illegal.”


   54. . Viewing Exhibit 4, Reddit users sought to cause a short squeeze in Game

stop stock.


55. Defendant's actions constitute antitrust violations in violation of the California Cartwright

Act, Cal. Bus. & Prof. Code § 16700 et seq.




56. Defendant's actions constitute stock manipulation in violation of the Securities Exchange Act

of 1934 Section 10

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57/ Defendants actions constituted an violation of the Sherman and Clayton Antitrust laws


58. Reddits actions in seeking to enlarge the pool of co-conspirators to buy GME constitute

Aiding and Abetting which Violation of the SEC laws,


59. A violation of the law is a Per Se Violation of RCW 19.86.093




60. Violation of a law is grounds for Violation or RCW 19.86.93


61. Reddits actions constitute violation of RCW 19.86.050


62. Reddits actions constitute a violation of RCW 19.86.030


63. Reddits actions also constitute a violation of RCW 19.86.040




       64. . Elon Musk is a notorious Stock manipulator who has restraining orders against him

       by the SEC in 2019


       65. . Defendant Reddit Corporation uses unpaid employees to act as moderators

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       66. Plaintiff incorporates Exhibit #2 as if contained within


       67. Under Federal Law this is the definition of Volunteers




68. Reddit does not qualify to have volunteers under Federal Law


           a. 50. Reddit admits to directing Moderators for WallStreet Bets


69. Every post on Reddit is Reddit’s own responsibility and not protected by Title 47 Section

230


70. . Every conspiracy idea to manipulate GME stock is the corporations Reddits responsibility

since it is Employer of the unpaid posters.


71, Defendants actions constituted violations of 15 U.S.C. § 78t(e).




               15 U.S.C. §§ 1-38




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                            DEMAND FOR RELIEF


WHEREFORE, Plaintiff demands judgment against Defendants as follows:


  1. Compensatory and punitive damages in an amount to be proven at trial;

  2. Treble damages and reasonable attorney fees pursuant to Anti-Trust Statutes 15 U.S.C.

       §15

  3. Damages pursuant to the Securities Act




  4. Injunctive relief, enjoining Defendants from engaging in the unfair business practices,

       antitrust violations, and stock manipulation set forth in this complaint;


               Actual damages pursuant to RCW 19.86.090

               Treble damages pursuant to RCW 19.86.090


  5.          Attorney fees and costs pursuant to RCW 19.86.090

  6. Reasonable attorney's fees and costs pursuant to Clayton Act

  7. Damages pursuant to Cal. Civ. Pro. Code § 1021.5


  8. Reasonable attorney's fees and costs pursuant to Cal. Civ. Pro. Code § 1021.5


  9. Any further relief as the Court deems just and proper


JURY DEMAND
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Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the plaintiff, demands

a Jury trial




               Pro SE




   Date: 11/14/2023 Sign:


                                      Print: Name: Douglas Rosenberg




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